                                 Case 18-09350-JJG-7A         Doc 19       Filed 01/23/19       EOD 01/23/19 16:26:59             Pg 1 of 2


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                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:         18-09350 JJG                                                         Trustee: (340270)           Joseph W. Hammes
Case Name:           MILES, JEFFERY LEE                                                   Filed (f) or Converted (c): 12/17/18 (f)
                                                                                          §341(a) Meeting Date:       01/14/19
Period Ending:       01/21/19                                                             Claims Bar Date:            04/16/19

                                1                                      2                         3                          4                  5                    6

                       Asset Description                          Petition/              Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)            Unscheduled         (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                   Values              Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                     and Other Costs)                                                Remaining Assets

 1       Cash                                                               50.00                       50.00                                       0.00                   FA

 2       Checking account: First Financial                                  35.00                       35.00                                       0.00                   FA

 3       See Attachment 1                                                  300.00                      300.00                                       0.00                   FA

 4       See Attachment 2                                                  565.00                      565.00                                       0.00                   FA

 5       Dick's Sporting Goods coat, 2+ years old                           50.00                       50.00                                       0.00                   FA

 6       Giant brand bicycle, 10+ years old                                200.00                      200.00                                       0.00                   FA
 7       Cigna: Me                                                           0.00                         0.00                                      0.00                   FA

 8       See Attachment 3: Son                                               0.00                         0.00                                      0.00                   FA

 9       2011 Chevrolet Malibu, 98,000 miles. Entire prop              5,000.00                       5,000.00                                      0.00                   FA

10       2 Pet Cats, rescued from the local shelter.                         0.00                         0.00                                      0.00                   FA

11       2018 REFUNDS (u)                                                    0.00                    Unknown                                        0.00             Unknown

12       EARNED BUT UNPAID WAGES (u)                                         0.00                    Unknown                                        0.00             Unknown

12       Assets           Totals (Excluding unknown values)         $6,200.00                        $6,200.00                                     $0.00                 $0.00


     Major Activities Affecting Case Closing:




                                                                                                                                          Printed: 01/21/2019 11:47 AM   V.14.50
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                                                                       Asset Cases
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                      Asset Description                             Petition/          Estimated Net Value             Property         Sale/Funds          Asset Fully
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                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                   and Other Costs)                                                Remaining Assets

    Initial Projected Date Of Final Report (TFR): December 31, 2020                 Current Projected Date Of Final Report (TFR): December 31, 2020




                January 21, 2019                                                    /s/ Joseph W. Hammes
         __________________________                                                 _________________________________________________________________
                      Date                                                          Joseph W. Hammes




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